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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiffs,                                     8:16CR277

       vs.
                                                                          ORDER
MITCHELL PARKER,

                       Defendant.


       This matter is before the court on defendant's MOTION TO CONTINUE FILING
PRETRIAL MOTIONS [81]. For good cause shown, I find that the motion should be granted.
The defendant will be given an approximate 45-day extension. Pretrial Motions shall be filed by
January 17, 2017.


       IT IS ORDERED:
       1.      Defendant's MOTION TO CONTINUE FILING PRETRIAL MOTIONS [81] is
granted. Pretrial motions shall be filed on or before January 17, 2017.
       2.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result
of the granting of the motion, i.e., the time between today’s date and January 17, 2017, shall be
deemed excludable time in any computation of time under the requirement of the Speedy Trial
Act for the reason defendant's counsel required additional time to adequately prepare the case,
taking into consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).


       Dated this 29th day of November, 2016

                                                      BY THE COURT:
                                                      s/ F.A. Gossett, III
                                                      United States Magistrate Judge
